   Case 24-61022         Doc 36       Filed 03/03/25      Entered 03/03/25 15:05:41            Desc      Page 1
                                                        of 1

                             IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF VIRGINIA

IN RE:                                                                      Case No. 24-61022
                                                                            Chapter 13
GERALD ANTHONY CARTER, SR.


                             Debtor

                TRUSTEE'S PETITION TO DISMISS CASE AND NOTICE OF HEARING

COMES NOW the Standing Chapter 13 Trustee, and moves this Court to dismiss this case because the Debtor
defaulted in making plan payments pursuant to the confirmed Chapter 13 plan as follows :

DATE OF LAST PAYMENT: 12/23/2024                               ESTIMATED AMOUNT OF ARREARAGE
                                                               *AS OF 03/03/2025 is $3,740.00
                                                               Number of months in arrears is: 2

To cure this default, please send payments to:

         Office of the Chapter 13 Bankruptcy Trustee, Angela M. Scolforo
         P.O. Box 1961, Memphis, TN 38101-1961

The Trustee may request immediate dismissal of the case at the hearing below unless the Debtor(s) cure the
default, submit an order resolving the default, or file an amended plan to cure the default prior to the hearing
noticed below.

                                            NOTICE OF HEARING
The hearing on the Trustee’s Motion to Dismiss Case shall be held on the date and time below, which hearing
shall be held by VIDEO CONFERENCE. Do NOT appear in person. Any party opposing the motion or seeking
to be heard must join the video conference hearing using the meeting ID and link on:
                                          May 07, 2025, at 9:30 A.M.

ZOOM Meeting ID: 160 369 2643
ZOOM Link: https://vawb-uscourts-gov.zoomgov.com/j/1603692643

                                              Certificate of Service
         On March 03, 2025, I mailed a copy of this Motion and Notice of Hearing by first-class mail, postage
paid, to the Debtor, GERALD ANTHONY CARTER, SR., 104 SAND TRAP LANE, LOCUST GROVE, VA
22508, and served it electronically upon the Debtor's attorney.

                                                      /s/ Angela M. Scolforo
                                                      Angela M. Scolforo, Chapter 13 Trustee VSB #42574
                                                      P. O. Box 2103, Charlottesville, VA 22902
                                                      Ph: 434-817-9913, Email: ch13staff@cvillech13.net
